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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                CIVIL MINUTES - GENERAL

Case No.      CV 20-8428-SMG                                         Date     October 2, 2020
              1:20-bk-11006-VK

Title In re: Lev Investments, LLC


Present: The Honorable       DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

               Kane Tien                                              Not Reported
              Deputy Clerk                                            Court Reporter

   Attorneys Present for Plaintiff(s)                      Attorneys Present for Defendant(s)
             Not Present                                              Not Present

Proceedings: IN CHAMBERS – ORDER TO SHOW RE: DISMISSAL FOR LACK OF
             PROSECUTION

        The docket reflects that a bankruptcy appeal has been filed in the above-entitled action,
but that appellant has not filed the required:

        _X_    entered stamped copy of order, judgment, or decree,

        ___    statement of issues,

        ___    designation of record,

        ___    notice of transcripts, and

        ___    filing fee.

       Appellant is Ordered to Show Cause no later than October 16, 2020, why the appeal
should not be dismissed for these deficiencies. The Court may consider Appellant's filing of the
missing required documents and fees to the Bankruptcy Court, along with a declaration of good
cause for the delay, sufficient response to the order to show cause.

IT IS SO ORDERED.




CV-90                                 CIVIL MINUTES - GENERAL               Initials of Deputy Clerk KT
